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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                          No. CR 12-0128 JB

ROY MADRID,

                 Defendant.

                              MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion for Reconsideration

of Sentence, filed September 24, 2013 (Doc. 553)(“Motion”). The Court held a hearing on

October 24, 2013. The primary issue is whether the Court should reconsider the sentence it gave

to Defendant Roy Madrid on September 9, 2013. Because the Court does not have authority to

modify the sentence, the Court will deny the Motion.

                                  FACTUAL BACKGROUND

       On May 17, 2013, Madrid pled guilty to Conspiracy to Launder Money in violation of

18 U.S.C. § 1956(h). See Amended Plea Agreement, filed May 17, 2013 (Doc. 428)(“Plea

Agreement”). Madrid admitted that he, together with Defendants Homero Varela and “Manuel

Villa-Mayorquin, conspired to launder the proceeds of drug transactions in order to promote the

continuance of their drug distribution activity, by selling drugs in and about Albuquerque, New

Mexico.” Plea Agreement at 3. Under the United States Sentencing Guidelines, Madrid’s

Guideline imprisonment range was 108-135 months. See Transcript of Hearing at 2:24-3:6

(Court, Knoblauch), taken September 9, 2013 (“Sentencing Tr.”).1 Madrid and Plaintiff United



       1
           The Court’s citations to the transcripts of the hearings refer to the Court reporter’s
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States of America agreed, pursuant to rule 11(c)(1)(C) of the Federal Rules of Criminal

Procedure, that the Court should impose a sentence of between 37 and 63 months imprisonment.

See Plea Agreement, ¶ 9.b, at 6. Madrid waived his right to appeal any sentence that was within

or below the applicable guideline range under the United States Sentencing Guidelines. See Plea

Agreement ¶ 18, at 9. On September 9, 2013, the Court sentenced Madrid to a prison term of 57

months. See Clerk’s Minutes, filed September 9, 2013 (Doc. 532); Judgment, filed September

12, 2013 (Doc. 534).

                               PROCEDURAL BACKGROUND

       Madrid moves the Court to reconsider the sentence. He contends that the Court did not

consider his culpability relative to the co-Defendants who received a lesser sentence. See

Motion ¶ 2, at 1. In a numbered list, he states:

              3.       That, for example, his co-Defendant Steve Chavez was sentenced
       to a period of incarceration of 30 months.

               4.     That Steve Chavez and [Madrid] are similarly situated in the scope
       of their criminal actions in that both were involved in transporting and laundering
       the proceeds of drug trafficking, but the amounts attributed to Steve Chavez were
       more than those attributed to the Defendant.

               5.    That the primary difference between him and Steve Chavez lies not
       in the amounts of money at issue, but in mens rea and motivations.

               6.     That the Defendant’s motivation in being involved in the criminal
       activity was not pecuniary, but to protect those near and dear to him.

              7.      That it appears that Steve Chavez actively sought out the
       opportunity to engage in money laundering.

               8.      That it would, therefore, appear that their relative culpabilities are
       quite different yet the Defendant is receiving a harsher sentence.

               9.      That such disparities in sentencing of co-Defendants when they are

original, unedited versions. Any final transcripts may contain slightly different page and/or line
numbers.

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       convicted of the same crime is grounds for a downward departure by itself. See,
       e.g.[,] U.S. v. Tzoc-Sierra, 387 F.3d 978 (9th Cir. 2004) and U.S. v. Daas, 198
       F.3d 1167 (9th Cir. 1999).

               10.    That the same sentence as that received by Steve Chavez would be
       within the range stipulated in the Amended Plea Agreement to pursuant to Fed. R.
       Crim. P[.] 11 (c)(1)(C).

Motion ¶¶ 3-10, at 1-2.

       The United States opposes the Motion: in its view, the Court considered all relevant

factors in imposing its sentence, and “the Court likely lacks jurisdiction to resentence the

Defendant even if it desired to do so.” Government’s Response to Defendant’s Motion for

Reconsideration of Sentence, filed October 8, 2013 (Doc. 532)(“Response”). The United States

rehearses the case’s procedural history and argues that the Court considered all relevant

sentencing factors before it imposed its sentence. See Response at 2-3. It argues that the United

States and Madrid worked a good deal to come up with an appropriate sentence, explaining:

       In fact, the desire of both the United States and the Defendant to [affirmatively]
       articulate for the Court’s consideration the specific sentencing range of 37 to 63
       months is further evidenced by the fact that, when the parties discovered they had
       made a mistake in the calculation of the applicable guideline range after entry of
       the original non-Rule 11(c)(1)(C) Plea Agreement (Doc. 339), the parties sought
       to prevent any potential harm that might have resulted from their mistake, by
       quickly entering into a Rule 11(c)(1)(C) Amended Plea Agreement that was
       designed to better advance their agreement to the stated sentencing range for the
       Court’s consideration.

Response at 3. Moreover, in its view, the Court considered the culpability arguments that

Madrid raises in his Motion when it sentenced him. See Response at 3-4.

       The United States contends that the Court has, throughout other sentencing hearings in

this case, gone to great lengths to avoid unwarranted sentencing disparities. See Response at 4.

Further, it notes, the important difference between Chavez and Madrid is that Madrid’s advisory

guideline range greatly exceeds Chavez’ range. See Response at 4. It argues that it is a goal of



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sentencing law to prevent “unwarranted disparities between defendants with similar records,

backgrounds and guideline calculations, based not on who is sentenced to what in a single co-

defendant case, but rather through a nationwide analysis.” Response at 4 (emphasis in original).

It suggests that rule 11(c)(1)(C) sentences “are not technically administered by the Court, but are

rather[] accepted by the Court.” Response at 5. It states that the “Court’s thoughtful, thorough

and meticulous approach to sentencing in this 15 person co-defendant complex litigation matter

cannot be construed as arbitrary, capricious, whimsical, or manifestly unreasonable, and for that

reason alone the Defendant’s request for reconsideration of his substantially reduced sentence

should be denied with prejudice, and without a hearing.” Response at 5 (internal quotation

marks omitted).

               Finally, even if the Court were inclined to consider resentencing the
       Defendant, it does not seem likely that the Court has jurisdiction to do so. Fed. R.
       Crim. P. 35(a) or (b) appears to be the only mechanism by which a defendant can
       seek to be resentenced after sentencing has already taken place. Fed. R. Crim. P.
       35(a) provides for a way the Court can correct basic errors in sentencing, and
       must be done within 14 days after sentencing. The rule specifically states: “the
       court may correct a sentence that resulted from arithmetical, technical, or other
       clear error.” Fed. R. Crim. P. 35(a). The Defendant’s Motion was filed beyond
       the time constraints of this rule, and the Defendant has not identified clear error in
       need of mitigation, but has instead advanced substantive argument concerning
       issues already addressed by the Court. Thus, assuming Fed. R. Crim. P. 35(a) is
       the only mechanism by which the defendant can secure a post-sentencing
       correction to any perceived error in sentence, because he cannot satisfy the rule’s
       requirements, he cannot be sentenced in accordance with the rule, simply because
       this Court lacks jurisdiction to resentence the Defendant. See United States v.
       Luna-Acosta, 715 F.3d 860, 866-67 (10th Cir. 2013).

               Subsection (b) of this rule does not apply, because the Defendant did not
       cooperate with the United States, and in fact, went to great lengths to make sure
       his lack of cooperation was unambiguously understood by the Court due to what
       appeared to be potentially legitimate safety considerations for the Defendant and
       his family. See generally Fed. R. Crim. P. 35(b) (Reducing Sentence for
       Substantial Assistance).




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Response at 5-6.2 Accordingly, the United States maintains that the Court should deny Madrid’s

Motion, because any further sentence reduction is unwarranted, and because it “very likely lacks

jurisdiction to impose a new sentence at this stage.” Response at 6.

       At the hearing, the Court pointed to its opinion in United States v. Cramberg, No. CR 10-

3244JB, 2012 WL 3656477 (D.N.M. Aug. 21, 2012)(Browning, J.), and recited language from

that opinion in which the Court explained that, with narrow exceptions, it does not have authority

to modify a sentence that it has imposed. See Transcript of Hearing at 1:19-3:13 (Court), taken

October 24, 2013 (“Hearing Tr.”). The Court stated that it did not believe that, under rule 35 of

the Federal Rules of Criminal Procedure,3 it has jurisdiction to grant the Motion, but invited

Madrid to speak in its favor. See Hearing Tr. at 3:14-19 (Court).

       Madrid stated that, in his view, the Motion was timely:

       [U]nder Rule 45 [of the Federal Rules of Criminal Procedure] the day the event
       occurs triggers the period is not to be counted, which that would have been the
       ninth. The motion was filed on the 24th, and therefore, it would have been

       2
       Whether the Motion is timely depends on rule 45 of the Federal Rules of Criminal
Procedure, which provides, in relevant part:

       (1) Period Stated in Days or a Longer Unit. When the period is stated in days or a
       longer unit of time:
              (A) exclude the day of the event that triggers the period;

               (B) count every day, including intermediate Saturdays, Sundays, and legal
               holidays; and

               (C) include the last day of the period, but if the last day is a Saturday,
               Sunday, or legal holiday, the period continues to run until the end of the
               next day that is not a Saturday, Sunday, or legal holiday.

Fed. R. Crim. P. 45(a)(1).
       3
         In relevant part, rule 35 provides: “(a) Correcting Clear Error. Within 14 days after
sentencing, the court may correct a sentence that resulted from arithmetical, technical, or other
clear error.” Fed. R. Crim. P. 35(a).


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       timely. So that’s my reading of the computation of time. So from the -- so the
       ninth would not be included but the 10th, and so and so forth would be up to and
       including the . . . 24th.

Hearing Tr. at 3:22-4:5 (Knoblauch). With respect to the substance of the Motion, Madrid stated

that the Court’s alleged error might be a “technical” error within rule 35’s meaning:

       Now, what might be considered being a technical error, I don’t think there has
       been sufficient case law to define this. However, my concern here, Your Honor,
       is that the at the time of sentencing I’m not sure the Court adequately considered
       the concept of mens rea in this entire matter. And I raised this at that time. I
       don’t recall the Court addressing this directly.

               And as the Court was pointed out in the sentencing memorandum,
       Mr. Madrid was coerced into the actions which led to his plea of guilty in this
       matter. The idea of coercion, of course, is an age old excusal for conduct. And
       whether or not the excusal is complete or partial depends on the facts of the case.
       Certainly, we have -- in this circuit we have a jury instruction to that [--] I think
       it’s 1.36 of the 10th Circuit jury instructions.

                 Moreover, Your Honor, going back to Blackstone, Book 4, Chapter
       2 . . . this is what Blackstone calls a defect of a will, which is of the excusal.
       “Another species of compulsion or necessity is what our law calls duress per
       minas or threats and menaces which induce a fear of death or other bodily harm.”

               In this matter, Your Honor, Mr. Madrid, although he was not personally
       threatened, his family was threatened. And I think that that would certainly
       mitigate to a large degree any of Mr. Madrid’s actions.

              It’s a very sad case. Mr. Madrid has no other really criminal involvement
       or anything else. And as we spoke about before at sentencing, we were all
       shocked when the sentencing guidelines came back what they were.[4]

              But I would like the Court to really consider what was going on in Mr.
       Madrid’s mind when he went through the actions which involved laundering his
       money. And I think that would probably fall under the -- if the Court did not
       adequately consider that, I think that would fall underneath Rule 35 technical
       omission. Thank you.

       4
         Madrid was alluding to the fact that Madrid’s Guideline range of 108 to 135 months was
significantly higher than the parties anticipated during plea negotiations. As discussed during the
sentencing hearing, the parties entered into an initial Plea Agreement, filed February 14, 2013
(Doc. 339), and, after the United States Probation Office calculated Madrid’s Guideline range at
a significantly higher level than the parties had anticipated, entered into the Amended Plea
Agreement in the form of a rule 11(c)(1)(C) agreement. See Sentencing Tr. passim.

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Hearing Tr. at 4:9-5:24 (Knoblauch).

       The United States responded as follows:

               Your Honor, first I’ll state that although we’ve given the defendant a great
       deal of deference with respect to his claims of duress and coercion, the fact is
       there is nothing before the Court and nothing as a matter of record indicating any
       duress or coercion. It’s just self-serving statements provided to the Court by way
       of counsel. The Court has no record to defer to concerning that assertion.

               That said, I didn’t take it lightly throughout the whole process. As the
       Court knows[,] at sentencing, I even indicated that I have heard of these types of
       situations before. I’m pretty sure at sentencing I also indicated at that time that
       we were taking the defendant at his word. And although I don’t want to get in
       deep to the negotiations that occurred by and between counsel, the reality is that[,]
       among many other factors[,] were [sic] considered, which led us to an incredibly
       substantial variance in this case.

               But I think it’s really important that the Court not come away with the
       feeling that duress or coercion has been demonstrated, even remotely close to any
       affirmative, in any affirmative way. The defendant didn’t put on any evidence.
       He didn’t present any fact witnesses. Nobody came forward and said, “I was
       threatened.” So it’s self-serving in the extreme. And although we did give him
       the benefit of the doubt, I don’t want any of us to come away thinking that that is
       a matter of fact.

               Setting all that aside, the reality is simple, I don’t think the Court has
       jurisdiction to consider this motion. It was filed 15 days after oral pronouncement
       of sentence. The reality though is, even if it were filed a day or two [earlier],
       there were no arithmetic, technical error, and there was no clear error in the
       sentence.

               I did remember -- vividly remember -- the Court incorporating a very
       detailed and thorough analysis concerning not only the defendant’s
       characteristics, history, and background, but every other defendant[’s]
       characteristics history and background in sentence in the this case.

Hearing Tr. at 6:5-7:21 (Swainston). The United States also recited the sentences that certain of

Madrid’s former co-Defendants received, noting that Madrid received “one of the most

extraordinary downward variances when compared to other criminal defendants in this case.”

Hearing Tr. at 7:22-9:1 (Swainston). The United States reiterated its argument that Chavez was



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an improper point of comparison for Madrid, because Madrid was convicted of money

laundering, which “was part of that wheel back and forth to the cartel that provided payment for

drugs, drugs for payment; payment for drugs, drugs for payment.”          Hearing Tr. at 9:1-10

(Swainston). The United States stated that it “actually picked off the money load heading back

south that this particular defendant played a role in securing.”         Hearing Tr. at 9:10-13

(Swainston). The United States stated that, although it wanted to remind the Court of all of those

factual issues, “at the end of the day, I just don’t think the Court has jurisdiction. And as a

matter of law, I’d ask that the Court deny the motion.” Hearing Tr. at 9:14-20 (Court).

       Madrid stated that he was willing to testify about the coercion at issue, but stated that,

“given the parameters of the plea agreement, I don’t think that would be necessary or

appropriate.” Hearing Tr. at 9:25-10:14 (Knoblauch, Court). The United States stated that it

would object, because “that would only become relevant if the Court reopens sentencing.”

Hearing Tr. at 11:15-17 (Swainston). Madrid declined the Court’s invitation to make a record

regarding coercion. See Hearing Tr. at 10:18-21 (Court, Knoblauch).

       The Court stated that it would deny the Motion, relying on reasoning from United States

v. Cramberg. See Hearing Tr. at 10:22-12:15 (Court).

                 LAW REGARDING MODIFICATION OF SENTENCES

       “A district court does not have inherent authority to modify a previously imposed

sentence; it may do so only pursuant to statutory authorization.” United States v. Mendoza, 118

F.3d 707, 709 (10th Cir. 1997). Accord United States v. Cramberg, No. CR 10-3244J B, 2012

WL 3656477, at *2-3 (D.N.M. Aug. 21, 2012)(Browning, J.); United States v. Christy, No. 10-

1534 JB, 2012 WL 3150352, at *4-5 (D.N.M. July 16, 2012)(Browning, J.); United States v.

Padilla, No. 09-3598 JB, 2012 WL 2175749, at *2 (D.N.M. May 31, 2012)(Browning, J.);



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United States v. Vigil, No. 05-2051 JB, 2010 WL 2301708, at *3-4 (D.N.M. May 4,

2010)(Browning, J.); United States v. Myers, 375 F. Supp. 2d 1293, 1296 (D.N.M.

2005)(Browning, J.). As the United States Court of Appeals for the Tenth Circuit has explained:

       A district court is authorized to modify a Defendant’s sentence only in specified
       instances where Congress has expressly granted the court jurisdiction to do so.
       Section 3582(c) of Title 18 of the United States Code provides three avenues
       through which the court may “modify a term of imprisonment once it has been
       imposed.” A court may modify a sentence: (1) in certain circumstances “upon
       motion of the Director of the Bureau of Prisons”; (2) “to the extent otherwise
       expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal
       Procedure”; or (3) “upon motion of the defendant or the Director of the Bureau of
       Prisons,” or on the court’s own motion in cases where the applicable sentencing
       range “has subsequently been lowered by the Sentencing Commission.”

United States v. Blackwell, 81 F.3d 945, 947-48 (10th Cir. 1996)(footnote omitted)(citation

omitted).5 Rule 35 authorizes a district court to reduce or correct a sentence in certain situations.

See Fed. R. Crim. P. 35. “‘[S]entencing’ means the oral announcement of the sentence.” Fed. R.

Crim. P. 35(c). Under rule 35(a), “[w]ithin 14 days after sentencing, the court may correct a

sentence that resulted from arithmetical, technical, or other clear error.” Fed. R. Crim. P. 35(a).

The Tenth Circuit has referred to the term sentence as meaning “the punishment imposed.”

United States v. Wittig, 206 F. App’x 763, 769 (10th Cir. 2006)(unpublished).6 “A sentence is


       5
         Congress has twice amended 18 U.S.C. § 3582, in 1996 and in 2004, since the Tenth
Circuit’s decision in United States v. Blackwell; however, neither of these amendments
substantively affects the Tenth Circuit’s analysis.
       6
        United States v. Wittig is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A) (“Unpublished decisions are not precedential, but may be cited for their
persuasive value.”). The Tenth Circuit has stated:

       In this circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its
       disposition, we allow a citation to that decision.

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formally imposed at the point when the district court announces it from the bench, and not at the

point when the written judgment of order and commitment is entered -- meaning that Rule 35’s

seven-day[7] period runs from the oral imposition of the sentence.” United States v. Mendoza,

543 F.3d 1186, 1195 n.7 (10th Cir. 2008)(emphasis in original). Under subsection (b), a court

may reduce a sentence for substantial assistance in certain situations “[u]pon the government’s

motion.” Fed. R. Crim. P. 35(b).

       Rule 36 allows a court, at any time, to “correct a clerical error in a judgment, order, or

other part of the record, or correct an error in the record arising from oversight or omission.”

Fed. R. Crim. P. 36. The Tenth Circuit has held that rule 36 “allows correction of only

non-substantive errors, and does not ‘give the court authority to substantially modify a

Defendant’s sentence.’” United States v. Lonjose, 663 F.3d 1292, 1299 n.7 (10th Cir. 2011).

The United States Court of Appeals for the Third Circuit has similarly stated: “[C]ourts and

commentators are thus unanimous that Rule 36 may not be used to amend a sentence to include

an additional term of imprisonment, fine, or imposition of costs.” United States v. Bennett, 423

F.3d at 278. The United States Court of Appeals for the Fifth Circuit has stated that “Rule 36

[is] the appropriate mechanism for amendments that do not substantively alter the sentence

announced orally but rather correct errors in written judgments.” United States v. Spencer, 513

F.3d 490, 491 (5th Cir. 2008). The United States Court of Appeals for the Second Circuit has

stated that “Rule 36 covers only minor, uncontroversial errors.” United States v. Werber, 51


United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005) (citations omitted). The Court
finds that United States v. Wittig and United States v. Vaughan, 119 F. App’x 227 (10th
Cir. 2004)(unpublished), have persuasive value with respect to material issues, and will assist the
Court in its preparation of this Memorandum Opinion and Order.
       7
        Amendments that took effect on December 1, 2009, extended the period of time in
which a court can correct these “clear” errors from seven days to fourteen days.


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F.3d 342, 347 (2d Cir. 1995).

       The Third Circuit has explained how rule 36 operates:

               While Rule 36 allows a court to correct clerical errors or errors of
       oversight or omission “in the record,” it only allows correction of clerical errors in
       the judgment or order. This difference in language is important. While Rule 36
       provides a broad mandate to correct a variety of errors in ancillary parts of the
       record -- the dates of documents, the indictment, etc. -- it provides only a strictly
       limited authority to correct the court’s judgment or order. The judgment of a
       court, unlike the rest of the court’s record, has legal effect; substantive changes to
       the judgment may normally be made only by appellate review or similar
       procedures.

United States v. Bennett, 423 F.3d 271, 278 (3d Cir. 2005)(quoting 26 James Wm. Moore et al.,

Moore’s Federal Practice ¶ 636.02[3] (3d ed. 2005)). The Tenth Circuit has similarly stated that

rule 36 permits the correction of “clerical-type errors” in a judgment.           United States v.

Blackwell, 81 F.3d at 948. Accord United States v. Vaughan, 119 F. App’x 227, 230 (10th Cir.

2004)(unpublished)(“When a judgment and commitment order contains a clerical error, we may

remand for correction.”).

       The Third Circuit has provided the following definition for a clerical error: “[A] clerical

error must not be one of judgment or even of misidentification, but merely of recitation, of the

sort that a clerk or amanuensis[8] might commit, mechanical in nature.”           United States v.

Guevremont, 829 F.2d 423, 426 (3d Cir. 1987)(quoting Dura-Wood Treating Co. v. Century

Forest Indus., 694 F.2d 112, 114 (5th Cir. 1982)). The Fifth Circuit has stated, in an unpublished

opinion, that, “[w]hile there may be circumstances where the line between clerical error and

judicial error is unclear, we have generally found that correction of a clerical error occurs when

the modification neither affects a party’s substantive rights nor contradicts the court’s and the

       8
        An amanuensis is “a literary or artistic assistant, in particular one who takes dictation or
copies manuscripts.” New Oxford American Dictionary 48 (A. Stevenson & C. Lindberg eds.,
3d ed. 2010).


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parties’ intentions as to the judgment.” United States v. Crawley, Nos. 11-60061, 11-60065,

2012 WL 715068, at *2 (5th Cir. Mar. 6, 2012)(unpublished)(citing United States v. Spencer,

513 F.3d at 491).

       In United States v. Blackwell, the Tenth Circuit reversed for lack of jurisdiction the

district court’s re-sentencing of a co-defendant seventy-two days after the original sentencing.

See 81 F.3d at 946. In that case, the defendant, who received an initial sentence of 15 months

imprisonment, moved the court for a re-sentencing, because, “three days prior to his sentencing,

Defendant’s supplier pleaded guilty to distributing fifty-five ounces of cocaine and the United

States District Court for the District of Utah sentenced her to probation.” 81 F.3d at 946. The

district court held a re-sentencing hearing seventy-two days after the original sentencing, and, at

that hearing, reduced the defendant’s sentence to “three-years probation, with six-months home

detention.” 81 F.3d at 946. In explaining its authority to modify the defendant’s sentence, the

district court relied on “two alternative sources of authority . . . : (1) the court’s ‘inherent

jurisdiction’ to right injustices, and (2) Fed. R. Crim. P. 35.” 81 F.3d at 946. The district court,

in the caption of what it called a “Correction or Reduction of Judgment in a Criminal Case,” 81

F.3d at 947, indicated that it had corrected its judgment under rule 35 and rule 36 of the Federal

Rules of Criminal Procedure, which then provided that “‘[c]lerical mistakes in judgments, orders

or other parts of the record and errors in the record arising from oversight or omission may be

corrected by the court at any time and after such notice, if any, as the court orders.’” 81 F.3d at

948 (quoting the then-extant version of Fed. R. Crim. P. 36).9


       9
         Rule 36 now reads: “After giving any notice it considers appropriate, the court may at
any time correct a clerical error in a judgment, order, or other part of the record, or correct an
error in the record arising from oversight or omission.” Fed. R. Crim. P. 36. As the advisory
committee’s note makes clear, rule 36’s substance remains identical. See Fed. R. Crim. P. 36
advisory committee’s note (“The language of Rule 36 has been amended as part of the general

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       The Tenth Circuit rejected the district court’s reliance on rule 35, rule 36, and its

“inherent authority,” and concluded that “the court lacked jurisdiction to resentence Defendant.”

United States v. Blackwell, 81 F.3d at 949. The Tenth Circuit concluded that rule 35(a) did not

apply, “because the court did not correct Defendant’s sentence within seven days after the

original sentence was imposed, but resentenced Defendant seventy-two days later.” 81 F.3d at

949 (discussing then rule 35(c)).10 The Tenth Circuit also held that rule 35(b) did not apply:

“Because subsection (b) applies only to motions made by the government, a defendant cannot

invoke Rule 35(b) and empower the court to reduce his sentence.” 81 F.3d at 949. The Tenth

Circuit also rejected the notion that rule 36 authorizes district courts to resentence defendants,

explaining that “Rule 36 does not authorize substantive sentencing modification,” but only

correction of clerical errors. 81 F.3d at 949. Finally, the Tenth Circuit held that Congress had,

by imposing rule 35(a)’s time limits, cabined any “inherent authority” of the district court to

resentence defendants, and thereby eliminated the district court’s authority to resentence the

defendant after that window. 81 F.3d at 949. Accordingly, the Tenth Circuit “conclude[d] that

neither Rules 35 or 36, nor the Court’s ‘inherent jurisdiction,’ authorized it to modify

Defendant’s sentence in the instant case. Accordingly, the court lacked jurisdiction to resentence

Defendant.” 81 F.3d at 949. The Tenth Circuit reversed and remanded, instructing the district

court “to reinstate Defendant’s original sentence.” 81 F.3d at 949.




restyling of the Criminal Rules to make them more easily understood and to make style and
terminology consistent throughout the rules. These changes are intended to be stylistic only.”).
       10
          “Former Rule 35(c), which addressed the authority of the court to correct certain errors
in the sentence, is now located in Rule 35(a).” Fed. R. Crim. P. 35 advisory committee’s note to
2002 amendments.


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                                           ANALYSIS

       The Court does not have statutory authority to modify the sentence it imposed on Madrid

under the facts presented. Madrid has not identified, and the Court has not found, any statutory

basis that would permit it to modify his sentence. Accordingly, the Court will deny the Motion.

       If the Motion is a rule 35(a) motion, it is untimely. The Court sentenced Madrid on

September 9, 2013. Madrid did not file his Motion until September 24, 2013. Under rule 35(a),

“[w]ithin 14 days after sentencing, the court may correct a sentence that resulted from

arithmetical, technical, or other clear error.” For purposes of rule 35, “‘sentencing’ means the

oral announcement of the sentence.” Fed. R. Crim. P. 35(c). The Motion is, accordingly, one

day late, and the time for the Court to act is even later. Thus, the Court does not have authority

under rule 35(a) to reduce Madrid’s sentence.

       Even if the Motion were timely, rule 35(a) provides no basis for altering the sentence.

Madrid’s attempt to recast the Court’s disagreement with his culpability arguments as a

“technical” error is unpersuasive. As the Tenth Circuit has explained rule 35’s intent:

               In 1991, Rule 35 was amended to provide sentencing courts with a seven-
       day period in which to correct arithmetical, technical, or other clear error. Fed. R.
       Crim. P. 35, Advisory Committee Notes on 1991 Amendments. “The authority to
       correct a sentence under this subdivision [wa]s intended to be very narrow and to
       extend only to those cases in which an obvious error or mistake ha[d]
       occurred . . . .” Id. “The subdivision [wa]s not intended to afford the court the
       opportunity to reconsider the application or interpretation of the sentencing
       guidelines or for the court simply to change its mind about the appropriateness of
       the sentence.” Id. “Nor should it be used to reopen issues previously resolved at
       the sentencing hearing through the exercise of the court’s discretion with regard to
       the application of the sentencing guidelines.” Id.

United States v. Green, 405 F.3d 1180, 1185 (10th Cir. 2005)(Ebel, J.). What Madrid calls a

“technical” error is, in substance, a request that the Court reconsider its weighing of the factors

that inform sentencing under 18 U.S.C. § 3553(a). Rule 35 does not empower the Court to make



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such a change.

       Rule 35(b) also does not provide Madrid a way to escape his sentence. Under rule 35(b),

“[u]pon the government’s motion made within one year of sentencing, the court may reduce a

sentence if the defendant, after sentencing, provided substantial assistance in investigating or

prosecuting another person.” Fed. R. Crim. P. 35(b). Madrid has made no argument that he has

provided substantial assistance to the United States. The Court cannot reduce his sentence under

rule 35(b).

       Finally, the narrow set of cases in which a court can also reduce a defendant’s sentence

“upon motion of the defendant or the Director of the Bureau of Prisons,” or on the court’s own

motion in cases where the applicable sentencing range “has subsequently been lowered by the

Sentencing Commission,” United States v. Blackwell, 81 F.3d at 947-48, does not apply in this

case. Madrid has made no argument that the United States Sentencing Commission has lowered

his sentencing range. Thus, the Court has no grounds to reduce his sentence.

       The Court concludes that Madrid’s basis for seeking a reduction in his sentence does not

fall within the narrow set of circumstances which Congress has provided for courts to reduce

sentences of criminal defendants. Consequently, the Court will deny the Motion.

       IT IS ORDERED that the Defendant’s Motion for Reconsideration of Sentence, filed

September 24, 2013 (Doc. 553), is denied.




                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE




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